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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 22-cr-15
                                                  :
              v.                                  :
                                                  :
 ELMER STEWART RHODES III,                        :
                                                  :
 KELLY MEGGS,                                     :
                                                  :
 KENNETH HARRELSON,                               :
                                                  :
 JESSICA WATKINS,                                 :
                                                  :
 ROBERTO MINUTA,                                  :
                                                  :
 JOSEPH HACKETT,                                  :
                                                  :
 DAVID MOERSCHEL,                                 :
                                                  :
 THOMAS CALDWELL, and                             :
                                                  :
 EDWARD VALLEJO,                                  :
                                                  :
            Defendants.                           :

                   UNITED STATES’ MOTION IN LIMINE TO PRECLUDE
                      CERTAIN DEFENSE ARGUMENTS AT TRIAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following motion in limine to preclude the defendants

from raising a public-authority or entrapment-by-estoppel defense at trial. Having failed to provide

notice as required under the Federal Rules of Criminal Procedure, the defendants are foreclosed

from raising the defense in the first instance. As to the merits, the defendants should be precluded
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from advancing, in opening statement or through witness questioning, the claim that the

defendants’ actions were authorized by public authority or that they were entrapped.1

                                               ARGUMENT

       A. Defendants failed to provide notice pursuant to Federal Rule of Criminal
          Procedure 12.3(a)(1) of their intent to assert a defense of actual or believed
          exercise of public authority and are therefore barred from raising such a defense
          at trial.

       Federal Rule of Criminal Procedure 12.3(a)(1) requires defendants to provide notice if they

“intend[ ] to assert a defense of actual or believed exercise of public authority on behalf of a law

enforcement agency or federal intelligence agency at the time of the alleged offense.” Such notice

must be in writing and be filed with the clerk “within the time provided for filing a pretrial motion,

or at any later time the court sets.” Fed. R. Crim. P. 12.3(a)(1). The notice must contain the law

enforcement or federal intelligence agency involved, the specific agency member, and the time

during which the defendant claims to have acted with public authority. Fed. R. Crim. P.

12.3(a)(2)(A)-(C). A failure to comply allows the court to exclude the testimony of any

undisclosed witness except the defendant. Fed. R. Crim. P. 12.3(c).

       In a discovery letter dated March 24, 2021, the government formally requested that

defendants provide the government with the appropriate written notice if defendants planned to

rely upon any of the defenses referenced in Federal Rules of Criminal Procedure 12.1, 12.2, and

12.3. On August 6, 2021, the government wrote the defendants to note, inter alia, that the Federal

Rules of Criminal Procedure required them to provide written notice of an intent to assert a public

authority defense. On April 25, 2022, the government again wrote defendants reminding them that,

to date, they had not provided notice of their intent to pursue certain defenses at trial, to include a



       1
        The government incorporates by reference the factual background set forth in its prior
pleadings.
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public authority defense. The Court later extended the time to file supplemental Rule 12 motions

to July 11, 2022. See July 7, 2022 Minute Order. The defendants have not provided written notice

of an intent to raise a public authority defense. As the deadline for providing such notice has now

expired, defendants should be precluded from asserting a defense of public authority. Fed. R. Crim.

P. 12.3(c).

       B. There is no available public-authority defense because President Trump lacked
          actual authority to order the defendants’ criminal conduct, and any reliance
          would have been unreasonable.

       Even if notice had been timely, defendants should be precluded from advancing a public

authority defense. “The public authority defense allows ‘the defendant [to] seek[ ] exoneration

based on the fact that he reasonably relied” on the “actual authority of a government official to

engage him in a covert activity.’” United States v. Fulcher 250 F.3d 244, 253-54 (4th Cir. 2001);

see Fed. R. Crim. P. 12.3(a)(1).2 Here, any “public-authority” defense put forth by the defendants

would fail for two reasons: no government agent possessed actual authority to order the

defendants’ criminal actions, and, in any event, it would have been objectively unreasonable to

rely on any such order.

       First, “[t]he validity of” the public-authority “defense depends upon whether the

government agent in fact had authority to empower the defendant to perform the acts in question.

If the agent had no such power, then the defendant may not rest on the ‘public authority’

[defense].” United States v. Burrows, 36 F.3d 875, 881-82 (9th Cir. 1994) (quoting United States

v. Baptista-Rodriguez, 17 F.3d 1354, 1368 n.18 (11th Cir. 1994)). The circuits that have considered

the issue are unanimous on that point. See, e.g., United States v. Sariles, 645 F.3d 315, 318-19 (5th


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          “Rule 12.3 sets forth a notice requirement but does not limit or expand the public authority
defense,” which was defined by federal common law prior to that Rule’s adoption. See, e.g., United
States v. Burrows, 36 F.3d 875, 881 (9th Cir. 1994).

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Cir. 2011) (“the public authority defense requires the defendant reasonably to rely on . . . actual,

not apparent, authority”); Fulcher, 250 F.3d at 254 (“we adopt the unanimous view of our sister

circuits that the defense of public authority requires reasonable reliance upon the actual authority

of a government official”); United States v. Pitt, 193 F.3d 751, 758 (3d Cir. 1999), abrogated on

other grounds by Honeycutt v. United States, 137 S. Ct. 1626 (2017); United States v. Holmquist,

36 F.3d 154, 161 nn. 6-7 (1st Cir. 1994) (characterizing as “nonexistent” and “not a defense at all”

the “‘defense’ of apparent public authority” based “on a mistaken but good-faith belief that one’s

conduct is authorized by the government”); United States v. Duggan, 743 F.2d 59, 84 (2d Cir.

1984) (declining to adopt view that “a defendant may be exonerated on the basis of his reliance on

an authority that is only apparent and not real”); cf. United States v. Sampol, 636 F.2d 621 (D.C.

Cir. 1980) (noting in dicta that defendants’ claim that CIA officer had conspired with them to

murder an ambassador “would not have created a defense if appellants’ participation in the crimes

had been established,” and therefore describing evidence of the officer’s employment with the CIA

as likely “immaterial”).

       President Trump did not have the authority to permit or authorize a conspiracy to forcibly

oppose the authority of the government or the execution of the laws of the United States, nor could

he have lawfully sanctioned the attack on the United States Capitol on January 6 or any of the

other criminal conduct allegedly perpetrated by defendants. As Chief Judge Howell wrote last year

in rejecting the idea of an entrapment-by-estoppel defense for January 6 defendants:

       [A President] cannot, in keeping with his constitutional function and his
       responsibilities under Article II, lawfully permit actions that directly undermine the
       Constitution. Thus, a President cannot, within the confines of his constitutional
       authority, prevent the constitutionally mandated certification of the results of a
       Presidential Election or encourage others to do so on his behalf, nor can he direct
       an assault on the coequal Legislative branch of government. Were a President to
       attempt to condone such conduct, he would act ultra vires and thus without the
       force of his constitutional authority. . . . Put simply, even if former President Trump

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       in fact [explicitly directed the rioters’ actions,] his statements would not immunize
       defendants charged with offenses arising from the January 6 assault on the Capitol
       from criminal liability.

United States v. Chrestman, 525 F. Supp. 3d 14, 32-33 (D.D.C. 2021).

       The D.C. Circuit came to the same conclusion in United States v. North, when addressing

Oliver North’s contention that President Ronald Reagan authorized his obstruction of Congress in

that case. 910 F.2d 843, 879 (D.C. Cir. 1990) (per curiam), opinion withdrawn and superseded in

part on reh’g, 920 F.2d 940 (D.C. Cir. 1990). The court made clear that “‘[n]either the President

nor any of [North’s] superiors had the legal authority to order anyone to violate the law,’

particularly if such ‘orders,’ explicit or implicit, represented nothing more than [the President’s]

desires.” Id. at 891 n.24. Thus, even if President Trump explicitly called for the defendants to

engage in the charged criminal conduct, that could not underlie a public-authority defense or

entrapment-by-estoppel. In any event, that did not happen.

       The D.C. Circuit’s decision in United States v. Barker, 546 F.2d 940 (D.C. Cir. 1976) (per

curiam), is not to the contrary. In Barker, the court reversed the convictions of two defendants who

participated in the burglary of Daniel Ellsberg’s psychiatrist’s office. The defendants claimed they

did so at the behest of E. Howard Hunt, a long-time CIA agent who worked under the supervision

of John Ehrlichman in the White House. North, 910 F.2d at 879. The case featured fractured

separate opinions from the three-judge panel. Judge Wilkey, half of the two-judge majority, wrote

that a defendant’s reasonable reliance on the “apparent authority” of a government official (there,

Hunt) to authorize his conduct could make out a defense. Id. (quoting Barker, 546 F.2d at 949

(opinion of Wilkey, J.). But that portion of Barker was not the controlling rationale, and the panel

majority in North subsequently rejected North’s request for an instruction invoking his superiors’

“apparent authorization of his action.” Id. at 881. In any event, Judge Wilkey’s application of

reasonable reliance in Barker—where the defendants, each of whom had worked with the CIA,

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claimed that a government official (and previous CIA supervisor) authorized what they allegedly

were told was a counter-espionage operation—has no analogue here. Barker therefore does not

undermine straightforward principle that the President lacks the authority to empower citizens to

oppose by force the authority of the United States, enter restricted Capitol grounds and buildings,

obstruct congressional proceedings, or engage in civil disorder. See, e.g., North, 910 F.2d at 891

n.24.

        Second, “a defendant makes out a defense of public authority only when he has shown that

his reliance on governmental authority was reasonable as well as sincere.” Burrows, 36 F.3d at

882; Fulcher, 250 F.3d at 254; Sariles, 645 F.3d at 318-19. This reasonableness requirement is

necessary to ensure the “uniform enforcement of law”; otherwise, anyone could interpret a public

official’s actions or statements as authorizing them to engage in criminal conduct. Id. (quoting

United States v. Lansing, 424 F.2d 225 (9th Cir. 1970)). Any claim that defendants believed they

had been authorized as an agent of the Executive Branch to oppose by force the authority of the

United States, or forcibly stop the congressional certification of the vote by breaking into the

Capitol would be objectively unreasonable.

        C. There is no available entrapment-by-estoppel defense because the defendants
           cannot point to a government interpretation of the statutes they are charged with
           violating on which they reasonably relied.

        “The difference between the entrapment by estoppel defense and the public authority

defense is not great.” Burrows, 36 F.3d at 882; see also United States v. Baker, 438 F.3d 749, 753

(7th Cir. 2006) (“The elements that comprise the two defenses are quite similar.”). Courts have

narrowly confined the entrapment-by-estoppel defense. The Supreme Court first adopted a due

process defense to entrapment by public officials in Raley v. Ohio, 360 U.S. 423 (1959). In Raley,

the Supreme Court set aside the convictions of three individuals who refused to answer the



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questions of the Ohio Un-American Activities Commission, in reliance on inaccurate

representations by the Commission “that they had a right to rely on the privilege against self-

incrimination” under the Ohio Constitution. 360 U.S. at 425. The Court held that the convictions

violated the Fourteenth Amendment’s Due Process Clause because they involved “the most

indefensible sort of entrapment by the State—convicting a citizen for exercising a privilege which

the State clearly had told him was available to him.” Id. at 438. The Court emphasized that the

Commission’s advice constituted “active misleading” as to the contours of that “vague and

undefined” area of law. Id.

       A few years later, the Supreme Court revisited the subject in Cox v. Louisiana, 379 U.S.

559 (1965). Cox reversed the conviction of a protester who had led a group of 2,000 in a civil

rights march across the street from a courthouse and was later prosecuted for violating an anti-

picketing statute prohibiting demonstrations “near” a courthouse. 379 U.S. at 560, 564-65. The

statute did not define that term. Id. at 560. The protesters had been “affirmatively told” by “the

highest police officials of the city, in the presence of the Sheriff and Mayor,” that protesting across

the street from the courthouse was lawful under that statute. Id. at 571. The Court determined that

the statute’s ambiguous term “near” necessarily “foresees a degree of on-the-spot administrative

interpretation by officials charged with responsibility for administering and enforcing it,” and thus

found that the demonstrators “would justifiably tend to rely on [the police’s] administrative

interpretation of how ‘near’ the courthouse a particular demonstration might take place.” Id. at

568-69. The Court concluded that the local officials’ interpretation of “near” was a “limited

administrative regulation of traffic” that the protesters reasonably relied on. Id. at 569. But it also

made clear that a defendant cannot reasonably rely on a law enforcement official’s attempt to

provide “a waiver of law,” which the Court described as “beyond the power of the police.” Id.



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       Distilling these cases, recent case law has limited the entrapment-by-estoppel defense to

the narrow circumstances in which a defendant reasonably relies on a government agent’s

interpretation of a statute that, if accurate, would render the defendant’s conduct non-criminal. “To

win an entrapment-by-estoppel claim, a defendant criminally prosecuted for an offense must prove

(1) that a government agent actively misled him about the state of the law defining the offense;

(2) that the government agent was responsible for interpreting, administering, or enforcing the law

defining the offense; (3) that the defendant actually relied on the agent’s misleading

pronouncement in committing the offense; and (4) that the defendant’s reliance was reasonable in

light of the identity of the agent, the point of law misrepresented, and the substance of the

misrepresentation.” Cox, 906 F.3d at 1191; see also United States v. Neville, 82 F.3d 750, 761 (7th

Cir. 1996) (“[W]e have required that [1] the government official ‘actively mislead the defendant;

and that the defendant’s reliance be [2] actual and [3] reasonable in light of the identity of the

agent, the point of law represented, and the substance of the misrepresentation.”); Burrows, 36

F.3d 875 at 882 (“This defense applies when [1] a government official [2] tells a defendant that

certain conduct is legal and the defendant commits what would otherwise be a crime [3] in

reasonable reliance on the official’s representation.” (quoting United States v. Baptista-Rodriguez,

17 F.3d 1354, 1368 n.18 (11th Cir. 1994)). Last year, Chief Judge Howell adopted the Tenth

Circuit’s four-part test from Cox in preliminarily rejecting a Capitol riot defendant’s claim to the

entrapment-by-estoppel defense. See Chrestman, 525 F. Supp. 3d at 33.

       Defendants cannot satisfy any part of the entrapment-by-estoppel test. The defendants were

not actively misled. Neither in his speech on January 6, 2021, nor beforehand did President Trump

or any other government actor purport to interpret the scope of the statutes the defendants are

charged with violating. Said another way, President Trump did not “affirmatively assure[] the



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defendant[s] that certain conduct [was] legal.” United States v. Howell, 37 F.3d 1197, 1204 (7th

Cir. 1994); United States v. Troncoso, 23 F.3d 612, 615 (1st Cir. 1994) (defense fails absent advice

from official that conduct “was actually legal”). Additionally, although the defendants have

referred to the Insurrection Act, 18 U.S.C. §§ 251-254, in hearings and pleadings before this Court,

the Act was never actually invoked. The defendants’ expectations of official action cannot give

rise to a purported anticipatory public authority defense or entrapment-by-estoppel. See United

States v. Alvarado, 808 F.3d 474, 484 (11th Cir. 2015) (noting for public authority defense “a

federal law enforcement officer must have actually authorized the defendant to commit the

particular criminal act at issue and the defendant must have reasonably relied on that authorization

when engaging in that conduct”); Baker, 438 F.3d at 755–56.

        As Chief Judge Howell observed last year, an entrapment-by-estoppel defense by a January

6 rioter:

        would not be premised, as it was in Raley [and] Cox, . . . on a defendant’s confusion
        about the state of the law and a government official’s clarifying, if inaccurate,
        representations. It would instead rely on the premise that a defendant, though aware
        that his intended conduct was illegal, acted under the belief President Trump had
        waived the entire corpus of criminal law as it applied to the mob.

Chrestman, 525 F. Supp. 3d at 32; see also United States v. Smith, 940 F.2d 710, 715 (1st Cir.

1991) (rejecting entrapment-by-estoppel defense because federal agent allegedly encouraged

defendant to keep firearms to assist with undercover operation, but never was alleged “to have

represented that keeping the guns was, in fact, legal”); North, 910 F.2d 843 (noting that “North

does not even claim that he relied on any ‘conclusion or statement of law’”). Absent any

government statement upon which the defendants could have arguably relied, the analysis can stop

here.




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                                        CONCLUSION

       Motions in limine are “designed to narrow the evidentiary issues for trial and to eliminate

unnecessary trial interruptions.” Graves v. District of Columbia, 850 F. Supp. 2d 6, 10 (D.D.C.

2011) (quoting Bradley v. Pittsburgh Bd. of Educ., 913 F.2d 1064, 1070 (3d Cir. 1990)). The

government presents these issues to the Court in an effort to ensure an efficient trial. For the

reasons set forth herein, the United States respectfully requests that this Court grant the

government’s motion and preclude the defendants from raising an entrapment-by-estoppel or

public-authority defense at trial.

                                            Respectfully submitted,

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